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                                                                                                   United States Bankruptcy Court
                                                                                                        Southern District of Texas

                                                                                                            ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                                         February 15, 2022
                           FOR THE SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

    In re:                                                §
                                                          §                  Case No. 21-32261
    KORNBLUTH TEXAS, LLC,                                 §
                                                          §                  Chapter 11
              Debtor.                                     §

                         ORDER DISMISSING CHAPTER 11 CASE
                  PURSUANT TO SECTION 1112 OF THE BANKRUPTCY CODE
                                 (Relates to ECF # 180)

             The Court considered the Motion for Entry of an Order Dismissing Chapter 11 Case

Pursuant to Section 1112 of the Bankruptcy Code (the “Motion”),1 filed by Kornbluth Texas,

LLC, the above-captioned debtor and debtor in possession (the “Debtor”). The Court having

reviewed the Motion and any objections thereto; and based on the matters reflected in the record

of the hearing held on the Motion; it appearing that the Court has jurisdiction over this matter

pursuant to 28 U.S.C. § 1334; that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

that notice of the Motion was sufficient; and it appearing that the relief requested is in the best

interests of the Debtor, the estate, creditors, and other parties in interest, and that good cause has

been shown therefore, finds that the Motion should be GRANTED. It is therefore hereby

ORDERED that:

             1.     Within three (3) business days of the entry of this Order, the Debtor is authorized

and directed to pay from remaining cash held by the Debtor all accrued administrative expenses

and allowed professional fees subject to the Carve-Out as provided in the Court’s cash collateral

orders and any other applicable orders of this Court.




1
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
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       2.       After payment of the administrative claims and allowed professional fees set forth

above, the Debtor is authorized and directed to distribute remaining cash on hand, if any, to

WFCM 2016-LC25 West Bay Area Boulevard, LLC (the “Lender”).

       3.       Case No. 21-32261 filed by Kornbluth Texas, LLC is DISMISSED and CLOSED

effective as of March 4, 2022.

       4.       For the avoidance of doubt, nothing in this Order shall discharge the prepetition

indebtedness owed to the Lender, and Lender expressly reserves all rights with respect to its

pending litigation against the Debtor’s principals.

       5.       Notwithstanding Bankruptcy Rule 6004, this Order shall be effective and

enforceable immediately upon entry.

       6.       The Debtor is authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       7.       The Court shall retain exclusive jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, and enforcement of this Order.




            August 02,
            February 15, 2019
                         2022




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       4857-6612-8650, v. 1
